Case No. 1:23-cv-01557-DDD-STV        Document 101      filed 03/24/25   USDC Colorado
                                       pg 1 of 6




                   THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLORADO

Civil Action No. 1:23-cv-01557-DDD-STV

DARREN PATTERSON CHRISTIAN ACADEMY
    Plaintiff,
v.

LISA ROY, in her official capacity as Executive Director of the Colorado
Department of Early Childhood; and

DAWN ODEAN, in her official capacity as Director of Colorado’s Universal
Preschool Program,
      Defendants.

      DEFENDANTS’ MOTION TO ALTER OR AMEND A JUDGMENT
                   PURSUANT TO RULE 59(e)

      Pursuant to Fed. R. Civ. P. 59(e), Defendants, Lisa Roy and Dawn Odean,

request that this Court amend its Final Judgment. Because there is an ambiguity

as to whether the Court entered final judgment on all claims, as required for

Defendants to proceed on appeal, Defendants request the Court amend the Final

Judgment to clarify its ruling to provide a clear basis for appellate jurisdiction.

          CERTIFICATION PURSUANT TO D.C.COLO.L.CIV. R. 7.1

      Undersigned counsel conferred by e-mail with Plaintiff’s counsel regarding

this motion from March 19-24, 2025. Plaintiff is not opposed to the Court clarifying

that summary judgment was granted for the Free Exercise claim alone, however

Plaintiff has indicated its intention to file a response disagreeing with Defendants’

position on the finality of the Judgment and Rule 54(b) certification.


                                           1
Case No. 1:23-cv-01557-DDD-STV       Document 101      filed 03/24/25   USDC Colorado
                                      pg 2 of 6




      1.     On June 21, 2024, Defendants filed their Motion for Partial Summary

Judgment seeking judgment in their favor on Counts 1 and 4 of the Complaint in

their entirety and seeking judgment in their favor for the portions of Counts 2, 3, 5,

and 6 that concerned Provision 18(B) in the 2023-34 Universal Preschool (UPK)

Service Agreement. ECF 77.

      2.     That same day, Plaintiff moved for Summary Judgment, seeking an

“order awarding the declaratory and injunctive relief requested in its Complaint.”

ECF 78.

      3.     Both motions were fully briefed by August 9, 2024. ECF 89, 90, 93, and

94.

      4.     On February 24, 2025, this Court issued an Order regarding both

parties’ motions for summary judgment. ECF 97.

      5.     This Court granted Defendants’ Motion for Partial Summary

Judgment and dismissed Counts 1 and 4, in their entirety, and Counts 2, 3, 5, and

6, in part, of Plaintiff’s Complaint as moot. ECF 97 at 14.

      6.     This Court granted Plaintiff’s Motion for Summary Judgment in part

“to the extent it seeks a permanent injunction enjoining enforcement of the [UPK]

Service Agreements’ quality standards provision.” Id. at 14-15.

      7.     Footnote 5 of the Order states: “[b]ecause a permanent injunction is

justified on Free Exercise grounds alone, there is no need to address Plaintiff’s

additional contentions that Defendants’ rules violate its rights under the Free


                                          2
Case No. 1:23-cv-01557-DDD-STV        Document 101       filed 03/24/25   USDC Colorado
                                       pg 3 of 6




Speech and Equal Protection Clauses.” Id. at 14 n.5 (citing to Pls.’ Mot. for Summ.

J., ECF 78 at 24-32).

      8.     However, this Court’s Final Judgment states that “all” claims have

been resolved. ECF 98. This appears to conflict with Footnote 5.

      9.     The Tenth Circuit Court of Appeals’ ability “to review final decisions of

the district courts is conferred by 28 U.S.C. § 1291. . . the ‘final-judgment rule’”.

Waltman v. Georgia-Pacific, LLC, 590 F. App’x 799, 807 (10th Cir. 2014) (citing

Miami Tribe of Okla. v. United States, 656 F.3d 1129, 1137 (10th Cir. 2011)).

      10.    Because Footnote 5 suggests that two of Plaintiff’s claims have not yet

been addressed, it is unclear whether this Court reached a final judgment on all

claims as contemplated by 28 U.S.C. § 1291. If the Court did decide the Free Speech

and Equal Protection Clause claims, Defendants request that the Court amend the

Order and the Final Judgment to confirm that it did address and resolve those

claims.

      11.    If the Court did not resolve Plaintiff’s Free Speech and Equal

Protection claims, it may nevertheless certify the Free Exercise claim for appeal

pursuant to Fed. R. Civ. P. 54(b).

      12.    Pursuant to Rule 54(b), a court “may direct entry of a final judgment

 as to one or more, but fewer than all, claims or parties [] if the court expressly

 determines that there is no just reason for delay.” Fed R. Civ. P. 54(b); Deffenbaugh

 Indus., Inc. v. Unified Gov’t of Wyandotte Cnty., No. 22-3147, 2023 WL 4363439, at


                                            3
Case No. 1:23-cv-01557-DDD-STV        Document 101      filed 03/24/25   USDC Colorado
                                       pg 4 of 6




 *8-11 (10th Cir. 2023).

       13.    Here, Plaintiff’s Free Exercise claim is a separate claim from Plaintiff’s

 Free Speech and Equal Protection claims. Although the core conduct at issue and

 the relief sought under each claim is the same, they concern different legal tests

 and different factual analyses. See Gas-A-Car, Inc. v. Am. Petrofina, Inc., 484 F.2d

 1102, 1103, 1105 (10th Cir. 1973) (holding claims were separate for purposes of

 Rule 54(b) even though they requested “identical damages” and were “premised

 upon related facts”); cf. Jordan v. Pugh, 425 F.3d 820, 827 (10th Cir. 2005) (holding

 that First Amendment vagueness and overbreadth challenges were not separate

 claims because “they generally involve the same nucleus of facts, and require

 similar analysis of the terms and reach of the challenged provision.”). Free

 Exercise, Free Speech, and Equal Protection are all distinct constitutional

 protections with entirely independent legal analyses. Thus, this Court may direct

 entry to judgment as to the Free Exercise claim.

       14.    To certify a claim for appeal pursuant to Rule 54(b), the Court must

 also determine that there is “no just reason for delay” and “spell out the reasons

 why an appeal is permissible immediately, and need not await the resolution of all

 pending issues.” Waltman, 590 F. Appx. at 809. Review of a district court’s

 determination that there is no just reason for delay is reviewed only for abuse of

 discretion. Id. at 808.




                                           4
Case No. 1:23-cv-01557-DDD-STV        Document 101      filed 03/24/25   USDC Colorado
                                       pg 5 of 6




      15.    “The determination that there are no just reasons to delay appeal of

 individual judgments must take into account judicial administrative interests as

 well as the equities involved.” Atl. Richfield Co. v. Laguna Constr. Co., Inc., No. 17-

 2002, 2017 WL 11687572, at *2-3 (10th Cir. 2017) (citing Curtiss-Wright v. General

 Elec. Co., 446 U.S. 1, 8 (1980)). The district court’s assessment of the equities is

 afforded “substantial deference.” Id.

      16.    Accordingly, if the Court did not resolve the Free Speech and Equal

Protection claims, Defendants ask this Court to clarify or amend its Order and

Final Judgment to state that there is no just reason to delay appeal of the Free

Exercise claim and that the Court has certified the Free Exercise claim under Fed.

R. Civ. P. 54(b).

      WHEREFORE, pursuant to Fed. R. Civ. P. 59(e), Defendants respectfully

request that this Court amend or clarify its Order and Final Judgment.

Respectfully submitted this 24th day of March, 2025.

                                         PHILIP J. WEISER
                                         Attorney General

                                         s/     Brianna S. Tancher
                                         VIRGINIA R. CARRENO*
                                         Second Assistant Attorney General
                                         JANNA K. FISCHER*
                                         Senior Assistant Attorney General
                                         MICHELE MULHAUSEN*
                                         Assistant Attorney General
                                         BRIANNA S. TANCHER*
                                         Assistant Attorney General
                                         J. GREGORY WHITEHAIR*
                                         Senior Assistant Attorney General

                                            5
Case No. 1:23-cv-01557-DDD-STV      Document 101     filed 03/24/25   USDC Colorado
                                     pg 6 of 6




                                       Colorado Attorney General’s Office
                                       1300 Broadway, 6th Floor
                                       Denver, Colorado 80203
                                       Telephone: (720) 508-6000
                                       Email: virginia.carreno@coag.gov
                                             janna.fischer@coag.gov
                                             michele.mulhausen@coag.gov
                                             brianna.tancher@coag.gov
                                             greg.whitehair@coag.gov
                                             Attorneys for Defendants
                                             *Counsel of Record

I hereby certify that the foregoing pleading complies with the type-volume limitation
set forth in Judge Domenico’s Practice Standard III(A)(1).

                          CERTIFICATE OF SERVICE

       I hereby certify that on March 24, 2025, I electronically filed the foregoing
DEFENDANTS’ MOTION TO ALTER OR AMEND A JUDGMENT
PURSUANT TO RULE 59(e) with the Clerk of Court using the CM/ECF system. I
certify that all participants in the case are registered CM/ECF users and that
service will be accomplished by the CM/ECF system:

Jacob E. Reed
Philip A. Sechler
Alliance Defending Freedom
44180 Riverside Parkway
Lansdowne, VA 20176
Email: jreed@ADFlegal.org; psechler@ADFlegal.org

David A. Cortman
Ryan J. Tucker
Jeremiah Galus
Bryan Neihart
Alliance Defending Freedom
15100 N. 90th Street
Scottsdale, AZ 85260
Email: dcortman@ADFlegal.org; rtucker@ADFlegal.org; jgalus@ADFlegal.org;
bneihart@ADFlegal.org
Attorneys for Plaintiff

_/s/__Bonnie Smith______________

                                         6
